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                                 UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF PUERTO RICO


                                                             )     PROMESA
 In re                                                       )     Title III
                                                             )
 THE FINANCIAL OVERSIGHT AND                                 )     No. 17 BK 3283-LTS
 MANAGEMENT BOARD FOR PUERTO RICO,                           )
                                                             )     (Jointly Administered)
                                                             )
 As a representative of                                      )     Re: ECF No. 1416
                                                             )
 THE COMMONWEALTH OF PUERTO RICO                             )     Objection date: Expired/none filed
 et al.,                                                     )
                                                                   Hearing date: March 7, 2018 at 9:30 a.m.
                                                             )     (Atlantic Standard Time)
                                                  1
                                       Debtors.              )
                                                             )

                                  FEE EXAMINER’S INITIAL REPORT

          I.       SUMMARY OF UNCONTESTED FEE APPPLICATIONS FOR THE
                   FIRST INTERIM COMPENSATION PERIOD (MAY 3-SEPTEMBER 30,
                   2017) RECOMMENDED FOR HEARING AND COURT APPROVAL AT
                   THE OMNIBUS HEARING ON MARCH 7, 2018 AT 9:30 A.M. (AST);
                   AND

          II.      NOTICE OF DEFERRAL OF TEN FIRST INTERIM FEE
                   APPLICATIONS FOR CONSIDERATION AT THE
                   APRIL 25, 2018 OMNIBUS HEARING OR A LATER DATE


 TO:      HON. LAURA TAYLOR SWAIN,
          UNITED STATES DISTRICT JUDGE


 1
  The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number and the last four (4)
 digits of each Debtor’s federal tax identification number, as applicable, are the: (i) Commonwealth of Puerto Rico
 (Bankruptcy Case No. 17 BK 3283-LTS) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico Sales Tax
 Financing Corporation (“COFINA”) (Bankruptcy Case No. 17 BK 3284-LTS) (Last Four Digits of Federal Tax
 ID: 8474); (iii) Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy Case
 No. 17 BK 3567-LTS) (Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement System of the
 Government of the Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17 BK 3566-LTS) (Last Four
 Digits of Federal Tax ID: 9686); and, (v) Puerto Rico Electric Power Authority (“PREPA”) (Bankruptcy Case
 No. 17 BK 4780-LTS) (Last Four Digits of Federal Tax ID: 3747) (Title III case numbers are listed as Bankruptcy
 Case numbers due to software limitations).
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                                     PRELMINIARY STATEMENT

         With this report, the Fee Examiner:

                  --Recommends Court approval of the 30 interim fee applications
                  detailed on the first two pages of Exhibit A; and

                  --Notifies the Court, consistent with paragraphs 2.h and 2.k of the
                  First Amended Order Setting Procedures for Interim
                  Compensation and Reimbursement of Expenses of Professionals
                  [Dkt. No. 1715] (the “Interim Compensation Order”), that the Fee
                  Examiner and the applicants listed on page three of Exhibit A are
                  in productive discussions but have agreed—to allow for continued
                  dialogue— to adjourn consideration of their applications to the
                  April 25, 2018 omnibus hearing, or another date convenient to the
                  Court.

                                             INTRODUCTION

         To recover, the Commonwealth of Puerto Rico needs expert assistance—from engineers

 who restore power, from contractors who restore homes, buildings and roads, from medical

 personnel who protect public health, and from technicians who provide safe drinking water. In

 addition, it needs assistance from lawyers and financial advisors, whose expertise is no less

 critical to the Commonwealth’s recovery. The financial and legal infrastructures of the island

 require repair and restoration no less than the physical infrastructure. The required assistance is

 expensive, whether to rebuild the power grid or to define and adjust, fairly, the Commonwealth’s

 financial obligations. Congress recognized both needs—most recently when it appropriated

 more than $16 billion as part of the 2018 budget legislation2 and, in 2016, in enacting

 PROMESA to create a mechanism for the island’s financial restructuring under a plan being

 developed by the Financial Oversight and Management Board (the “Oversight Board”).

 2
  See Bipartisan Budget Act of 2018, Pub. L. No. 115-123, §§ 21201-21210, 20301 (Division B—Supplemental
 Appropriations, Tax Relief and Medicaid Changes Related to Certain Disasters and Further Extension of Continuing
 Appropriations (Puerto Rico)).




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            PROMESA addresses professional fees and expenses in sections 316 and 317. See Pub.

 L. No. 114-187, §§ 316, 317, 130 Stat. 549, 584-85 (2016). Largely incorporating the language

 of 11 U.S.C. § 330, the statute permits the interim or final award of compensation to a

 professional employed by the Commonwealth debtors, by the Oversight Board, or by a

 committee appointed under 11 U.S.C. § 1103. PROMESA limits the fee awards payable to

 “reasonable compensation for actual, necessary services” and “reimbursement for actual,

 necessary expenses.” The statute also provides standards for “determining the amount of

 reasonable compensation,” again echoing the analogous U.S. Bankruptcy Code sections.

            As of March 7, 2018, the Court will have before it 403 separate and properly-noticed

 applications for professional compensation from a total of 30 financial firms and law firms,

 including eight based in the Commonwealth. The fees requested for the “First Interim Fee

 Period” from May 3 through September 30, 2017 total $75,040,699.50. The expenses requested

 total $2,051,412.42. Most of the applications were filed in mid-December, and no objections

 were filed within the timeframe set forth in the Interim Compensation Order.4 On or about

 March 19, 2018, the professionals may file applications for services performed and expenses

 incurred during the “Second Interim Fee Period,” which ran from October 1, 2017 through

 January 31, 2018.

            This initial report describes the fee review process pursuant to the October 6, 2017 Order

 Pursuant to PROMESA Sections 316 and 317 and Bankruptcy Code Section 105(A) Appointing a

 Fee Examiner and Related Relief (the “Fee Examiner Order”) [Dkt. No. 1416], an order

 expressly limited to “the title III cases.” The Fee Examiner Order complements the original

 3
     Two of these applications request only expenses for official committee members.
 4
     One objection has been made to one monthly application. See infra at 4 & n.5.




                                                           3
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 interim compensation order, entered on August 23, 2017 [Dkt. No. 1150], and the now amended

 Interim Compensation Order.

         Exhibit A, attached to this Report, lists all of the First Interim Fee Period applications

 now pending and the amounts of all fees and expenses initially requested. Of these, the Fee

 Examiner has either negotiated consensual adjustments to or verified the accuracy of 30 of the

 applications, which now are recommended for Court approval (the “Applications”), subject to

 the submission and approval of final fee applications at the conclusion of these proceedings. The

 remaining applications, listed on the third page of the exhibit, will be deferred for consideration

 at a subsequent hearing to allow the applicants to continue their discussions with the Fee

 Examiner pursuant to paragraph 2.h of the Interim Compensation Order.

                                         REVIEW PROCEDURE

         The fee review process employed in these cases is similar—with some variations—to the

 process in other large Chapter 11 cases. See, e.g., In re Energy Future Holdings Corp.,

 No. 14-10979 (Bankr. D. Del., pending); In re AMR Corp., No. 11-15463 (Bankr. S.D.N.Y.);

 and, In re Lehman Brothers Holdings, Inc., No. 08-13555 (Bankr. S.D.N.Y.). Here,

 professionals may submit monthly fee and expense statements for which they are to be paid

 90 percent of the fees requested (with two exceptions) and 100 percent of the expenses

 requested. While the notice parties, including the Fee Examiner, have the right to object to any

 monthly statement, this has occurred only once.5 The focus of the Fee Examiner’s review

 process is interim—not monthly—applications filed as often as every four months pursuant to

 the Interim Compensation Order.
 5
  See The Puerto Fiscal Agency and Financial Advisory Authority’s Objection to the First Monthly Statement of
 Willkie Farr & Gallagher LLP for Allowance of Compensation and Reimbursement of Expenses as Counsel to
 Bettina Whyte, as the COFINA Agent for the Period From August 3, 2017 Through August 31, 2017. [Dkt.
 No. 1575].




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          To comply with PROMESA, the Interim Compensation Order, and the Fee Examiner’s

 standards and guidelines (see infra p. 8, and Exhibit B), the Applications must be

 comprehensive both in narrative form and in the detailed electronic records of services provided

 and expenses incurred. For the First Interim Fee Period, the Fee Examiner and counsel reviewed

 more than 100,000 individual time and expense entries, encompassing the services of more than

 760 timekeepers—financial professionals, lawyers, paraprofessionals, and staff.

          The first applications were filed on or about December 15, 2017—some later.6 Some

 applicants did not immediately submit supporting electronic data for all or a portion of their fees

 and expenses. Some applications demonstrated experience with the Chapter 11 compensation

 process and familiarity with the U.S. Trustee Guidelines, the local bankruptcy rules, and the

 relevant case law.7 Some applicants had neither filed a bankruptcy fee application nor been

 subject to a fee review process ever before.

 Procedural Context

          Beginning on May 3, 2017, with the filing of the initial petition, these cases quickly

 accelerated through four subsequent petitions, more than 30 adversary proceedings, and a series

 of hearings in San Juan, New York, and beyond. Even without the catastrophic September 2017

 hurricane, these cases faced daunting obstacles. PROMESA is a new and unique statute. The

 issues it raises are profound, constitutional and statutory, involving federal and Commonwealth

 law, and the U.S. and Puerto Rico constitutions. The financial and legal professionals working


 6
   The initial due date for the first interim period applications under the original interim compensation order was
 November 15, 2017 but, on the Fee Examiner’s motion and without objection, the Court moved the initial due date
 to December 15, 2017. One firm, based in Puerto Rico, filed its first interim application by the initial due date, and
 the Court approved it on the Fee Examiner’s recommendation without a hearing. [Dkt. No. 1994].
 7
  See Appendix B—Guidelines for Reviewing Applications for Compensation and Reimbursement of Expenses
 Filed under 11 U.S.C. § 330 for Attorneys in Larger Chapter 11 cases (the “Guidelines”).




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 on these cases have confronted massive challenges of time and distance, analysis and advocacy,

 with little directly applicable precedent. While there have been municipal bankruptcies under

 Chapter 9, of course, the Commonwealth’s history and status as debtors are unprecedented.

        The evaluation of “reasonableness” of professional fees requires at least a general sense

 of the scope and direction of the proceedings. Here, that includes the shared or overlapping (or

 incongruent) responsibilities of the Oversight Board, the Commonwealth’s government, their

 respective agents, and the affiliated agencies—some of which are debtors. To that end, the Fee

 Examiner has monitored by telephone selected proceedings and has reviewed a sampling of

 hearing transcripts and filed pleadings. He has met with the professionals for the principal

 parties and, in many instances, the Fee Examiner and counsel have had extended telephone

 discussions with professionals.

        Specifically with respect to the COFINA Dispute, the Fee Examiner has reviewed a series

 of pleadings, including those filed late last month, to better appreciate the complex constitutional

 and statutory arguments and the roles of the agents and their professionals. The Fee Examiner

 has met with AAFAF’s counsel as well as the executive director (by phone) and counsel for the

 Oversight Board and its advisor on retention and compensation matters. The Fee Examiner and

 counsel have been in regular communications with the U.S. Trustee’s office, which has its own

 separate and independent standing under PROMESA section 316(b). In addition, the Fee

 Examiner and counsel have scheduled a briefing session on March 7, 2018, in San Juan,

 following the omnibus hearing, for any professionals—specifically those based in Puerto Rico

 but not limited to them—interested in sharing their perspective on the proceedings or asking

 questions about the fee review process.




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 Fee Review Process

        With this procedural background, the Fee Examiner’s counsel first reviewed the narrative

 fee requests for an overview of the nature of services for which compensation has been

 requested. Simultaneously, a specialist imported the supporting electronic data to a platform

 developed specifically for bankruptcy fee review, performing a series of automated analyses to

 verify the data and identify inconsistencies. The initial data review was followed by a detailed

 subjective review of the time and expense records with the Fee Examiner’s counsel applying

 experience and judgment to identify problematic timekeeping practices and other areas of

 concern.

        Counsel, under the direction of the Fee Examiner, then drafted a confidential letter report

 for each professional (some, more than 500 pages in length including appendices), as the Interim

 Compensation Order directs, “listing and explaining each reduction to the Professional’s fees and

 disbursements that the Fee Examiner recommends….” The letter reports identified concerns,

 sought explanation, and recommended adjustments supported, in most cases, by comprehensive

 exhibits that identified and quantified each problematic time or expense entry. The confidential

 letter report invited a negotiation and dialogue, including further submissions of data,

 documentation, and supporting information.

        As anticipated by the Fee Examiner Order, that process resulted in either a consensual

 resolution of the fee and expense request or a deferral of the application to permit additional

 discussion, as shown on Exhibit A. Though the Fee Examiner Order provides authority for the

 Fee Examiner to file formal objections, he generally disfavors that procedure, especially in the

 “first round” of fee review. Instead, the Fee Examiner sees the first interim reporting cycle as an

 opportunity to further inform professionals of the standards and guidelines and to illustrate their

 application with specificity. While negotiated adjustments have resulted, some professionals—


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 particularly those without Chapter 11 experience—have not been subject to any suggested

 deductions. Instead, this group of professionals has received observations and suggestions for

 subsequent fee requests.

         The first interim fee period of any reorganization expected to be of significant length is

 not the place for lines in the sand or rigid application of rules and guidelines. Rather, it offers

 the Court, the professionals, and the public a renewed awareness of the massive costs of complex

 restructuring proceedings and begins the development of case-specific tools to monitor and—

 hopefully—control those costs appropriately under the reasonableness standard. In subsequent

 interim periods, the Court can anticipate briefer and more pointed reports, including formal

 objections where appropriate, if problematic billing practices persist.

                       LEGAL STANDARDS AND JUDICIAL PRECEDENT

         Soon after his appointment, the Fee Examiner promulgated a series of standards in a

 memorandum to all of the retained professionals.8 That memorandum, attached as Exhibit B,

 outlined the statutory standards imposed by PROMESA and, by reference, the U.S. Bankruptcy

 Code and U.S. Trustee Guidelines, as well as some of the Fee Examiner’s own requests and

 suggestions. A second memorandum, attached as Exhibit C, on January 3, 2018 reflected initial

 observations on the filed applications and noted several categorical concerns. Taken together,

 PROMESA, the Bankruptcy Code and Rules, the Guidelines, the memoranda, and the rules

 adopted by the Bankruptcy Court for the District of Puerto Rico (e.g., LBR 2016-1) provide both

 general and specific standards governing professional compensation and reimbursement.




 8
  Several professional groups, including the COFINA Agent and her representatives, did not receive the first
 memorandum immediately because, without a publicly-filed retention application or disclosures, the universe of
 professionals subject to review was not readily apparent.




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 Reported Authorities

        While there is no shortage of reported opinions applying sections 328-330 of the

 Bankruptcy Code, there are relatively few from the First Circuit and even fewer from the

 bankruptcy court in Puerto Rico. While not binding or dispositive, the U.S. Court of Appeals

 made two potentially instructive points recently in a common fund case. A district court’s

 determination on reasonable fees, the court explained, is reviewable only for an abuse of

 discretion and only then in the event of a “serious mistake.” Heien v. Archstone, 837 F.3d 97,

 100 (1st Cir. 2016). Moreover, a district court’s reasoning in its evaluation of fees need not be

 “infinitely precise, deluged with details….” Id. at 101, quoting Vicor Corp. v. Vigilant Ins. Co.,

 674 F.3d 1 (1st Cir. 2012). In a Chapter 13 context, the U.S. Bankruptcy Court for the District of

 Puerto Rico collected and applied general fee cases and principles. In re Parrilla, 530 B.R. 1

 (Bankr. D.P.R. 2015); see also In re Lopez, 405 B.R. 24, 33 (B.A.P. 1st Cir. 2009) (reversing

 bankruptcy court fee decision for emphasis on a single factor rather than the lodestar approach).

        Given the concerns expressed in this report about the number of professionals attending

 hearings, meetings, and mediation sessions, a recent unrelated decision by Judge Houser and one

 older Delaware decision are also noteworthy. See In re Frazin, No. 08-3021, 2017 WL 7050632

 (Bankr. N.D. Texas Dec. 22, 2017); In re Fleming Cos., 304 B.R. 85, 90-91 (Bankr. D. Del.

 2003) (Walrath, J.). Finally, a First Circuit decision more than 30 years ago nonetheless

 provides a general set of principles and detailed reasonableness analysis in the context of fee

 shifting in section 1983 litigation. Grendel’s Den, Inc. v. Larkin, 749 F.2d 945 (lst Cir. 1984);

 see also In re Fruits Int’l, Inc., 87 B.R. 769 (Bankr. D.P.R. 1988) (often cited in fee dispute

 decisions).




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 Negotiated Parameters for Fee Review/the Fee Examiner Order

          Other than sections 316 and 317, PROMESA is silent on professional compensation. The

 legislative history of the fee provisions is sparse but, at its core, section 316 mirrors section 330

 of the Bankruptcy Code, imported almost but not quite verbatim. (The word “bankruptcy” in

 11 U.S.C. § 330(a)(3)(E), for example, has been replaced with the word “restructuring” in

 section 316(c)(5).) Given the limited jurisprudential and legislative guidance, the process

 governing these cases was developed by the principal parties in collaboration with and on the

 motion of the U.S. Trustee. The Fee Examiner Order provides standards for “assessing” fee

 applications that include the Interim Compensation Order [Dkt. No. 1715] and the U.S. Trustee

 Guidelines, supra n.7. The Fee Examiner Order expressly authorizes the Fee Examiner, subject

 to the Court’s oversight and approval, both to establish procedures for resolving disagreements

 over compensation and to develop “case-specific guidelines supplementing, but not in conflict

 with…” the existing standards for reasonableness. The Fee Examiner did so. See Exhibits B

 and C.

      INITIAL OBSERVATIONS/FIRST INTERIM PERIOD PROFESSIONAL FEES

          The quality of the professional services provided here is generally not at issue in this

 report, nor is responsiveness to client needs or the commitment to the well-being of the

 Commonwealth and its residents. In reviewing fees and expenses, the Fee Examiner has tried to

 develop an appreciation for the extraordinary practical and legal circumstances presented by

 these cases and the formidable tasks facing professionals. Yet the statutory requirement that

 professional services be both “reasonable and necessary”—even in an unprecedented case—is

 not waivable. The reasonableness requirement should be indifferent to the financial interests of

 anyone—the debtors, bondholders and other creditors, guarantors, public employees or retirees.




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 Ultimately, however, ensuring that only reasonable fees are drawn from the debtors’ funds

 benefits the people of the Commonwealth.

 Hourly Rate Variations and Discounts

        With the exception of McKinsey & Co., Inc. (“McKinsey”) and Andrew Wolfe,

 consultants for the Oversight Board, the Applications for interim compensation reflect

 engagement letters or agreements based on an hourly rate. For the first interim period, the hourly

 rates involved vary widely—indeed, dramatically.

        The average attorney hourly rate for applying firms based in Puerto Rico is about $245.

 The average attorney hourly rate for firms based outside of Puerto Rico (most, but not all, in

 New York City) is just under $775 with the highest reported rate requested at $1,425.00 an hour.

 A variety of factors explain the differences, but they are summarized in a phrase: “market rates.”

 The compensation provisions of the Bankruptcy Code turn on the concept of reasonableness and

 market rates for professional services, a distinct departure from the Bankruptcy Act—replaced

 by the Code in 1978—which, in effect, had discouraged professionals from representing

 distressed corporations. See, e.g. 3 Collier on Bankruptcy ¶ 330.LH[4] (Richard Levin & Henry

 J. Sommer eds., 16th ed. 2017) (“The legislative history of section 330, specifically

 acknowledges that ‘[n]otions of economy of the estate in fixing fees are outdated and have no

 place in the bankruptcy code.’”). The rates being charged by Puerto Rico based firms seem to be

 at or below the market rate for legal services in Puerto Rico. The rates being charged by firms in

 New York or Los Angeles, for example, are at or below the market rates for experienced

 Chapter 11 counsel in those cities.

        One of the difficulties presented here is not in the market rates but, rather, in the presence

 or absence of discounts. Often as part of a competitive process, some firms agreed at the outset

 to discounted rates, which are reflected in the Applications. Other firms agreed to apply a


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 discount at the conclusion of the proceedings but volunteered to accept a higher initial

 percentage holdback to account for potential reductions.9 Still other firms are providing no

 discount at all. In each instance where discounted fees are charged, the Fee Examiner has noted

 it in the confidential letter reports and on Exhibit A.

            Where a firm has chosen not to offer a discounted rate, or the client entity has not

 requested it, the Fee Examiner has suggested that some professionals consider a discount, but he

 can do no more than suggest. At some point in these proceedings, perhaps only at their

 conclusion, the Fee Examiner may ask the Court to address the disparity between

 similarly-situated and skilled firms in hourly rates, discounted or not. The disparate rates are too

 significant to ignore. So is the prospect of unreasonable rate increases—usually, though not

 always, imposed at the beginning of a calendar year—that could rapidly offset the savings from

 voluntary discounts.

 Duplication of Efforts and Overattendance

            Beyond rates, many of the problems or omissions in the Applications are not uncommon

 in major Chapter 11 proceedings, but two are of particular concern: duplication of effort and,

 related, the number of professionals attending hearings and proceedings. This concern extends

 to the extended mediation sessions that many believe present the best chance of an equitable

 outcome in the nearer term. Some duplication is unavoidable, particularly given the sometimes

 overlapping and, occasionally, conflicting interests of client entities that otherwise share ends

 and means.10 Several entities have engaged, for reasons that are obvious, more than one law firm



 9
     Several firms have offered a discount to be applied, retrospectively, in the firm’s “sole discretion.”
 10
  The continuing dispute over the authority of the Commonwealth and COFINA Agents is an example. See, e.g.,
 Dkt. Nos. 544, 996, 1461, and 1612. So is the dispute over PREPA’s management. PREPA Dkt. No. 471.




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 or financial advisor. The justification for multiple professionals in some instances, though, is not

 yet apparent.

        With respect to hearings, many firms are sending too many professionals to attend—by

 almost any standard—with significant hourly and travel expenses. The forthcoming mediation

 sessions provide an opportunity for restraint in this regard and the imposition by the client

 entities of some prospective limitations. If not, the problem will recur and the costs compound.

 To explain multiple attendance, it is not enough to respond, as some professionals have, merely

 that the issues addressed are of consequence or that the questioned timekeepers are “necessary”

 or “important.”

        PROMESA explicitly provides that the “court shall not allow compensation

 for…unnecessary duplication of services.” § 316(d)(1). Bankruptcy courts have left no doubt

 that estate compensation should be limited to professionals who actually participate in the

 proceeding or directly support that participation. See supra page 9. It is for the clients here, and

 no one else, to designate those they wish to represent their interests at hearings and in mediation.

 But the remarkable number of professionals in attendance, both in the aggregate and from

 individual firms, cannot be ignored and may lead to formal objection.

        The detailed confidential letter report and exhibits sent to each professional invited

 discussion and explanation on these and many other issues. In most instances, the professionals

 have accepted the invitation and the dialogue has been generally productive, with professionals

 providing explanations and context. Some professionals have emphasized that it is the client’s

 decision to designate who will represent the client and how. It is the client’s decision, of course,

 but always subject to the reasonableness standard. It is unreasonable, whether the clients or the




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 professionals make the staffing decisions, to expect compensation for 12 attorneys from a single

 firm to attend an omnibus hearing at which only one or two were expected to speak.

 Pre-Petition and Pre-Appointment Fees

          PROMESA did not anticipate all of the challenges professionals would face in these

 proceedings, and new challenges seem to arise regularly. For some issues and professionals,

 there is little or no precedent on particular compensation questions. The timing of pre-petition

 and pre-appointment professional fees is one example. The Fee Examiner Order establishes the

 Fee Examiner’s authority to evaluate fees for “the title III cases” and those filed by affiliated

 debtors. But because PROMESA did not adopt the section 327 retention provisions of the

 Bankruptcy Code, some of the engagement agreements, accordingly, did not provide for the

 “nunc pro tunc” or retrospective retention authorization common in Chapter 11 proceedings.

 While professionals in Chapter 11 cases can never charge pre-petition fees as administrative

 expenses, this proceeding does not allow uniformity in this regard. Nothing prohibits

 professionals for the government or the Oversight Board from asking for payment of pre-title III

 fees. The committees, by contrast, cannot hire professionals and incur fees until the U.S. Trustee

 appoints them. The same would seem to be true for the COFINA Agent, who would not even be

 a party in interest but for the Oversight Board’s delegation of authority and the Court’s approval

 of it.

          Even had the standards for employment and retention been specific and uniform,

 moreover, the Fee Examiner Order seems to contain its own intrinsic limitations, suggesting that

 the Fee Examiner should review fees charged for services provided only after the

 commencement of the individual Title III cases and only after the formal retention of each

 professional. The Interim Compensation Order, in paragraph 9, covers “all Professionals




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 retained in these cases…to the extent the professionals render services in the Title III Cases,” but

 it makes no reference to the timing of retentions.

        This issue directly affects some professionals and constituents. The pre-Title III fees and

 expenses are significant and, it has been represented, several parties would like the Fee Examiner

 to evaluate them. The COFINA Agent and her professionals began work immediately upon the

 negotiated agreement that resulted in her appointment, though the appointment did not take

 effect formally until the Court so ordered six weeks later. Equitable considerations that would

 justify a less rigid application of bankruptcy standards certainly deserve consideration. While

 the Fee Examiner is well-situated to review pre-filing and pre-appointment fees, his authority to

 do so is less than clear. Under these unique circumstances, the Fee Examiner seeks direction

 from the Court on this aspect of the scope of his assignment. For now, the pre-retention or

 pre-appointment or pre-petition fees have been reserved for later consideration.

 Professional Expenses

        The assessments required by the Fee Examiner Order involve both quantitative and

 qualitative judgments, objective as well as subjective. That is less true of expenses, where the

 standards are well-established and largely objective. The Fee Examiner initially identified more

 than $680,000 in apparently excessive or undocumented expenses out of the more than

 $2 million total sought. The follow up discussions with professionals provided many

 explanations and significant additional documentation, but expense reimbursements remain a

 serious concern—especially those incurred by traveling timekeepers who did not really need to

 travel—especially since the Court’s telephone appearance protocol is so accessible.

        The Fee Examiner identified several six-figure vendor charges for computer research,

 which seem challenging to justify—especially without any explicit record of the nature of the




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 research performed.11 In fact, the total charged for vendor-provided research services in the

 Applications exceeds $535,000 altogether. While electronic research can save time and money,

 many sources are available at no cost, and some discipline is warranted. With or without

 tempering the overall volume of searches, the Fee Examiner encourages professionals to seek

 public service discounts from vendors for these proceedings. Electronic research services could

 easily be categorized as an overhead expense for a law firm, but most firms elect to pass the cost

 on to clients. Some professionals have sought compensation as well for expenses described as

 “overhead expenses,” which cannot be appropriate.

          While the Guidelines, local rules, and Fee Examiner’s expense standards are not

 ambiguous or unprecedented, some professionals routinely fail to observe applicable caps and

 prohibitions (such as first class airfare), relying on the fee examiner process to cull the excessive

 charges, rather than documenting and adjusting them. Some professionals contend that the

 Guidelines themselves are unreasonable and, no matter how uniformly applied, have sought

 exceptions and exemptions. The additional cost of specific expense items noted in the letter

 reports should be borne by the professional firms themselves, not the residents of Puerto Rico.

          In a proceeding of this magnitude, it may seem inefficient to call a professional’s

 attention to inappropriate charges under $50—a hotel charge for personal laundry, for example—

 but when the expense rules are as bright as they are and if only for purposes of consistency and

 fairness, inappropriate expenses of any kind cannot be overlooked. The confidential letter

 reports consistently identified expenses that amount to relatively little when compared to the



 11
   Some professionals have asserted that they cannot disclose the subject matter of their research because of
 confidentiality concerns. Those assertions may well be legitimate, but research expenses in particular are very
 difficult to assess without some detail.




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 professional fees that accompany them, but require a great deal more care by the professionals

 and their clients before requesting reimbursement.

                                        INDIVIDUAL PROFESSIONALS

            Four professional firms, excluding McKinsey, account for $47.35 million in initially

 requested fees and expenses, about 61 percent of the requested total in the first interim period.

 While the amounts sought may vary, that relative allocation probably will continue for much of

 the balance of the proceedings given the plenary role of the Oversight Board and its

 professionals, AAFAF and its professionals, and the official committees.

            Every professional firm that submitted a properly substantiated application received a

 confidential letter report.12 Almost every firm that was asked to do so adjusted their requested

 fees and expenses based on the letter report and the dialogue that followed. Every firm

 requesting an interim fee or expense award is listed on Exhibit A, though some requests are not

 before the Court at this time. Some of the applications, either quantitatively or qualitatively, do

 not warrant extended discussion or the Court’s particularized attention. The Puerto Rico based

 firms, for example, have been asked to accept modest, if any, adjustments to their fees,

 recognizing that some were unfamiliar with basic billing conventions, were following the

 instructions of lead counsel, or were directly affected by the hurricane. To the extent that the Fee

 Examiner identified concerns with local professionals’ billing practices, they have either

 provided explanations that meet the “reasonableness” test or agreed to remedy deficiencies

 prospectively.

            PROMESA permits compensation for reasonable professional services and

 reimbursement for reasonable expenses only for those professionals “employed by the debtor (in

 12
      The applications of one firm that did not produce electronic billing records in a timely fashion has been deferred.




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 the debtor’s sole discretion), the Oversight Board (in the Oversight Board’s sole discretion),

 [and] a committee under section 1103 of Title 11….” Accordingly, the following summary

 groups the professionals in that fashion with the cumulative summary of each application

 appearing only on Exhibit A.

 Oversight Board Professionals

         Professionals representing or working directly on behalf of the Oversight Board

 collectively filed 12 of the interim fee applications. Of those, the applications of Proskauer

 Rose, LLP [Dkt. Nos. 2068, 2043, 2045, 2053, 2066]; McKinsey & Company, Inc. [Dkt.

 No. 2073], O’Neill & Borges LLC [Dkt. No. 2075], and Andrew Wolfe [Dkt. No. 2259] have

 been consensually deferred for the Court’s consideration in connection with the April 25, 2018

 omnibus hearing or another hearing date to be determined by the Court. The remaining group of

 Oversight Board professionals, for which compensation is recommended in this report, includes

 two financial advisors—Ernst & Young LLP [Dkt. No. 2036] and Deloitte Financial Advisory

 Services [Dkt. Nos. 2061 and 2149]—and two law firms, Cancio, Nadal, Rivera & Diaz, PSC

 [Dkt. No. 2135] and Luskin Stern & Eisler LLP [Dkt. No. 2077].

         Many, if not all, of the general issues discussed above are relevant with respect to this

 group of professionals. In particular, the Fee Examiner remains concerned about the possibility

 of duplication and/or overlap of professional roles given the unique statutory foundation for the

 Oversight Board, its role in these cases, and the authority delegated to its Agents. The

 recommended adjustments to fees and expenses listed on Exhibit A do not include significant

 deductions for duplication or overlap, but the Fee Examiner will continue to carefully monitor

 this issue and, if possible, recommend an approach for limiting duplication to the extent that can

 be accomplished consistently with each professional’s duties of loyalty and confidentiality to

 their clients.


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        With respect to the two financial advisors for which the Fee Examiner recommends an

 award of compensation—Ernst & Young and Deloitte Financial Advisory—tasks seem to have

 been divided appropriately between the two firms with Deloitte focusing on operational issues

 and fiscal planning and Ernst & Young primarily supporting the debt adjustment plan process,

 including supporting the Oversight Board in mediation. Turning to the law firms, Cancio Nadal

 is a Puerto Rico Firm representing the Oversight Board, and Luskin Stern is a New York-based

 firm handling discrete litigation matters that generally predate these Title III proceedings and for

 which the Oversight Board’s lead counsel has delegated some portion of its responsibility.

        The Fee Examiner has met with the staff of the Oversight Board itself, including its

 counsel, beginning a dialogue about the costs inherent in multiple representation and the prospect

 of streamlining efforts. The Oversight Board has been receptive to these discussions, reflecting

 its commitment to controlling the cost of these proceedings.

 The Commonwealth Professionals

        The Commonwealth, through AAFAF and PREPA, employs four professional firms

 subject to review. O’Melveny & Myers LLP [Dkt. Nos. 2062, 2063, 2064, 2065] plays a central

 role, coordinating professional services across the Commonwealth’s government. Greenberg

 Traurig [Dkt. Nos. 2111 and 2112] brings particular energy regulatory expertise to its

 representation of AAFAF and PREPA—taking the lead, apparently without significant overlap

 with O’Melveny, in the PREPA proceedings. Though AAFAF’s professional team is expansive,

 the working groups appear to have been carefully delineated and tasks allocated to lessen the

 potential for duplication and overlap. Both firms’ applications contained many of the Guideline

 issues identified elsewhere in this report but, like the other professionals for whom compensation

 is recommended, promptly and comprehensively responded to the Fee Examiner’s concerns with

 supplemental and appropriate adjustments.


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         AAFAF itself, of course, is very concerned about the cost of these proceedings. Its

 lawyers not only have allowed the Fee Examiner to speak directly to government official clients

 but have actively encouraged such dialogue. This communication enables the Commonwealth’s

 public employees to observe and monitor professional fee expenditures through the fee review

 process, as well as on their own, and allows AAFAF to incorporate some of the bankruptcy fee

 metrics into its internal controls process.

 Official Committee Professionals

         This group includes professionals working for each of the two official committees—the

 Official Committee of Unsecured Creditors (the “UCC”) and the Official Committee of Retired

 Employees of the Commonwealth of Puerto Rico (the “Retiree Committee”). Each official

 committee employs one national law firm, one Puerto Rico law firm,13 and one financial

 advisory firm. In addition, the Retiree Committee also employs an actuarial firm and an

 information agency firm. Most of the Retiree Committee’s advisors have had experience with

 the fee review process in Chapter 11 cases in Delaware and New York. As a result, the Retiree

 Committee professional fee applications required relatively little comment and adjustment.

         The UCC counsel, Paul Hastings LLP [see Dkt. No. 2040], and financial advisor, Zolfo

 Cooper, LLC [see Dkt. No. 2041], have unusual retention terms. See Dkt. No. 1007 at pp. 18-23

 (August 9, 2017 hearing transcript addressing 20 percent holdback and discount). For each of

 them, with the exception of some erroneous billings identified on Exhibit A, all of the agreed

 deductions are “credited” against those firms’ agreed 20 percent fee reduction as part of their

 final fee application submissions. Neither firm is due any additional fee payments for this first
 13
    O’Neill & Gilmore Law Office ceased performing legal services and officially withdrew as counsel to the UCC
 on July 21, 2017 (see Dkt. Nos. 698, 1145). The same day, the UCC engaged Casillas, Santiago & Torres, LLC as
 replacement Puerto Rico counsel (see Dkt. No. 701). While O’Neill & Gilmore has requested compensation on a
 final basis, the firm has agreed with the Fee Examiner to proceed with the application on an interim basis.




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 interim period, and neither firm is entitled to payment of the holdback that applies to most other

 professional firms.

        Because the UCC stands in the shoes of the Oversight Board for purposes of the

 COFINA Dispute, see supra pp. 6, 14-15, its professionals face similar questions about the

 appropriate scope of the UCC’s agency and the reasonableness and necessity of some of the

 work performed in the COFINA litigation. The Fee Examiner has not yet drawn any firm

 conclusions in this regard. Nor is he recommending any adjustments to professional

 compensation at this time, while reserving the right to revisit that issue and engage in dialogue

 with the Agents’ professionals on unnecessary professional expenses. For all professionals the

 issue of multiple attendance remains a paramount concern, the subject of continuing dialogue.

 The COFINA Agent Professionals

        The Court is all too familiar with the COFINA Dispute, and this report addresses it only

 in general terms. See supra pp. 14-15. For now, the Fee Examiner merely notes that he is

 following the litigation carefully, discussing with the COFINA Agent and her professionals—

 two continental law firms and one Puerto Rico firm—concerns about the expense of the

 COFINA-Commonwealth litigation. That concern extends both to the appropriate scope of the

 Agents’ roles and to the risk of duplication of efforts between Willkie Farr [Dkt. No. 2031], on

 the one hand, and Klee Tuchin [Dkt. No. 2099], on the other.

        The COFINA Dispute and its resolution are obviously central to these proceedings and

 the just-filed summary judgment and certification materials leave no doubt of that. Last year, the

 Court limited the definition of the dispute in the Scope Order. Adv. Pro. No. 17-257 [Dkt.

 No. 167]. It has continued to address the Agents’ authority and immunity, [e.g. Dkt. No. 1612],

 without foreclosing any party’s ability to challenge them. The subsequent orders addressing the




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 mediation of the defined issue and related issues affect—and, in some instances, delay—a

 complete reasonableness assessment for some professionals.

        For example, after the COFINA Agent’s appointment on August 3, 2017, one of the first

 issues the Court addressed was the request for a financial advisor [Dkt. No. 1273]. The Court

 denied the Agent’s motion without prejudice [Dkt. No. 1461]. It is black letter law, however,

 that “reasonableness” is not defined with perfect hindsight but, rather, at the time the services are

 provided. 1 Collier Bankruptcy Manual ¶ 331.02[6][a] (Alan N. Resnick & Henry J. Sommer

 eds., 4th ed. 2017) (“Thus, the statute itself supports a determination of whether the service was

 valuable based on what was known when the service was rendered and not based on what might

 or might not happen later.”) PROMESA in section 316(c)(3) reinforces the point.

        Here, in initially denying the advisor request, the Court said that the language of the

 stipulation defining the narrow role of the Agent was “unambiguous,” at least raising a question

 about the reasonableness of the request. Last month, however, the Court expanded the mediation

 role of the COFINA Agent and professionals [Dkt. No. 284 in AP 17-257]. As a result, the time

 spent on the advisor request (approximately $887,000) has been provisionally disallowed, but

 reserving every professional’s right to revisit the issue as the COFINA Dispute evolves and—

 hopefully—resolves.

 McKinsey

        The $5.12 million in flat fee compensation sought by McKinsey is one of the largest

 totals sought in this interim period. At more than $2 million a month, the consulting firm’s

 services are a significant regular recurring obligation of the Oversight Board. Yet this report

 contains no recommendation with respect to the reasonableness of the amounts sought because,

 based on the available materials including the Application, no recommendation can be made.




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         The Fee Examiner met in person with McKinsey’s representatives, learning that

 McKinsey’s services are extensive, that it has devoted significant resources to the Oversight

 Board, and that it may well be indispensable to the Oversight Board’s mission. Though

 McKinsey affiliates have extensive experience in Chapter 11 proceedings—and in preparing

 applications for professional fees—the McKinsey governmental team for this assignment stated

 that it does not track, by individual professional, the time expended—by the hour, by the day, or

 by the week, nor does it record expenses, all of which are subsumed within its monthly flat fees.

 Like its other state and federal contracts, McKinsey reports, this engagement is not based on

 hours but on “deliverables”—that is, comprehensive project analyses, budgets, and fiscal plans.

 While McKinsey continues to articulate the precise contours of its work, without time or expense

 records of any kind, it is very difficult for anyone to apply PROMESA’s standards for

 reasonableness.

         PROMESA did not incorporate by reference section 328 of the Bankruptcy Code, which

 would have provided flexibility for professional engagements “on any reasonable terms and

 conditions…including…on a fixed or percentage fee basis…” and subject to adjustment only if,

 in hindsight, the terms and conditions prove to have been “improvident in light of developments

 not capable of being anticipated…” at the outset. Absent that kind of provision, only

 PROMESA sections 316 and 317 govern compensation, and they practically, if not explicitly,

 require some sort of quantitative metric as a primary assessment tool. That leaves few

 alternatives.

         The Court could remove McKinsey from the Fee Examiner’s process and, instead, entrust

 the reasonableness assessment to the Oversight Board itself—establishing and applying unique

 standards for McKinsey to meet the Court’s own mandate for fee review. Alternatively, the




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 Court—after consultation and negotiation—could impose a quantitative reporting requirement

 that, at the least, has a time and expense-keeping and reporting component. The compensation

 sought by McKinsey is significant today, and it may well increase. Even were McKinsey’s

 engagement not to prove one of the Oversight Board’s most costly, however well warranted,

 PROMESA as drafted does not exempt any professional from a reasonableness review or

 provide an alternative for the recommendation or approval of McKinsey’s fees.

                                          CONCLUSION

        The Applications vary dramatically in amount and precision, in rates, and in the scope of

 services described. Nevertheless, Congress has mandated that the Court approve as reasonable

 the professional fees and expenses indispensable to the success of the PROMESA framework

 and the resolution of the legal and financial issues facing the Commonwealth. The Court, in

 turn, has mandated an interim compensation and independent fee review process to provide

 accountability and oversight. The fees and expenses paid by the estates must be both

 “reasonable” and “necessary.” Subjective as parts of that standard may be, painstaking and

 burdensome as their execution may be, the standards and the process are inescapable.

        For the reasons stated above, and in the absence of any objection to any Application, the

 Fee Examiner recommends that the Court enter the Order attached to this report approving, on an

 interim basis and subject to a final review at the conclusion of these proceedings, the interim fee

 requests of the listed professionals in the adjusted amounts that appear in the final two columns

 of Exhibit A. In addition, the Fee Examiner requests that the Court adjourn to the April 25,

 2018 omnibus hearing—without need for further notice—the Applications noted for deferral on

 the Order’s exhibit.




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          Dated: March 1, 2018.

          WE HEREBY CERTIFY that on this date, we electronically filed the foregoing motion

 with the Clerk of the Court using the CM/ECF system that will send notification of such filing to

 all attorneys of record registered in the use of the CM/ECF system.



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